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                      UNITED STATES DISTRICT COURT
                                       District of Minnesota



Kazong Lo                                          JUDGMENT IN A CIVIL CASE
                                 Plaintiff(s),
v.                                                       Case Number: 19-cv-1401-PJS-BRT
Asian-American Home Healthcare Services,
Inc.

                                 Defendant(s).


☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried
   and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.

     IT IS ORDERED AND ADJUDGED THAT:

Plaintiff’s Complaint is dismissed for lack of prosecution.



     Date: 5/1/2020                                        KATE M. FOGARTY, CLERK

                                                                  s/M. Giorgini
                                                       (By) M. Giorgini, Deputy Clerk
